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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101-LEK
   AMERICA,
                                       DEFENDANT’S “REPLY TO
          Plaintiff,                   UNITED STATE’S RESPONSE
                                       TO DEFENDANT’S SECOND
         v.                            MOTION TO COMPEL [DKT
                                       #487] AND NINTH MOTION
                                       FOR ORDER TO SHOW CAUSE
   ANTHONY T. WILLIAMS,                [DKT #481] AND UNITED
                                       STATES’ MOTION FOR
          Defendant.                   MISCELLANEOUS RELIEF
                                       RELATING TO IT’S
                                       RESPONSE TO DEFENDANT’S
                                       SECOND MOTION TO
                                       COMPEL [DKT# 483];”
                                       DECLARATION OF COUNSEL;
                                       EXHIBIT “A”’ CERTIFICATE
                                       OF SERVICE
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     DEFENDANT’S “REPLY TO UNITED STATE’S RESPONSE TO
      DEFENDANT’S SECOND MOTION TO COMPEL [DKT #487]
      AND NINTH MOTION FOR ORDER TO SHOW CAUSE [DKT
    #481] AND UNITED STATES’ MOTION FOR MISCELLANEOUS
      RELIEF RELATING TO IT’S RESPONSE TO DEFENDANT’S
            SECOND MOTION TO COMPEL [DKT# 483]”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides    DEFENDANT’S         “REPLY     TO    UNITED       STATE’S

   RESPONSE        TO    DEFENDANT’S         SECOND       MOTION       TO

   COMPEL [DKT #487] AND NINTH MOTION FOR ORDER TO

   SHOW CAUSE [DKT #481] AND UNITED STATES’ MOTION

   FOR     MISCELLANEOUS            RELIEF      RELATING         TO   IT’S

   RESPONSE        TO    DEFENDANT’S         SECOND       MOTION       TO

   COMPEL [DKT# 483]; Declaration of Counsel and Exhibit “A.”



      Dated: July 18, 2019

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
